                                                                                                                          ~
         Case 2:18-mj-02516-DUTY Document 3 Filed 10/10/18 Page 1 of 4 Page ID #:163
       Case ~:18-mj-02516-DUTY *SEALED* Document 1-1 *SEALED* Filed 09/21A8'"" Page 1of11
                                          Paae ID #:71
     AO 93 (Rev. 12/09) Search and Seizure Warrant (USAO COCA Rev. 0 112011)



                                          UNITED STATES DISTRICT COURT
                                                                            for the
                                                              Central District of California

                       In the Matter of the Search of                            )
                  (Briefly describe the property to be searched                  )
                   or identify the person by name and address)                   ) Case No.     2:18-MJ-02516
                 18978 NORTHERN DANCER LANE,                                     )
                     YORBA LINDA, CA, 92886                                      )
                                                                                 )

                                                 SEARCH AND SEIZURE WARRANT
    To:       Any authorized law enforcement officer

             An application by a federal Jaw enforcement officer or an attorney for the government requests the search
    of the following person or property located in the         Central           District of           California - - -
    {identify the person or describe the property to be searched and give its location):
          See Attachment A

              The person or property to be searched, described above, is believed to conceal (identify the person or describe the
    property to be seized):
          See Attachment B


             I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or
     property.

              YOU ARE COMMANDED to execute this warrant on or before                                14 days from the date of its issuance
                                                                                                                (not to exceed 14 days}
           ~ in the daytime 6:00 a.m. to I 0 p.m.                 0 at any time in the day or night as I find reasonable cause has been
                                                                      established.

              Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property
     taken to the person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the
     place where the property was taken.
            The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an
    inventory as required by Jaw and promptly return this warrant and inventory to United States Magi strate Judge
    on duty at the time of the return through a filing with the Cler~'s.Offjp_~ l V.-if~::-·•~~..:<~·~t:.\:~\~.· ~ !"" ~"=·
                                     (name)

          0 I find that immediate notification may have an adverse result.listed in J 8. U:S:C"'§' 2:705 (.exceptfor delay
    of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose property' will be
    searched or seized (check the appropriate box) 0 for             : ~~2ot to exceed 30).     · , . :· . ". - ~~.   '

                                                           0 until, the fact'Ding, the ;ater specific date of - ---~~

     Dateandtimeissued           "-J'L•/if 'J bO YM
                                           /
                                                                             }~ Ji                         &,,• ~
                                                                                                             ge ' signature

    City and state:       Los Angeles, California                                          Hon. Patrick J . Walsh, Chief Magistrate Judge
                                                                                                        Printed name and title



AUSA: Andrew Brown, 11th Floor, x0102
               Case 2:18-mj-02516-DUTY Document 3 Filed 10/10/18 Page 2 of 4 Page ID #:164
        Case 2:18-mj-02516-DUTY *SEALED* Document 1-1 *SEALED*      Filed 09/21118 Page 2 of 11
                                           Page ID #:72
     AO 93 (Rev. 12109) Search and Seizure Warrant (Page 2)

                                                                                  R eturn
     Case No.:                                     Date and time warrant executed:           Copy ofwarrant and inventory left with:
       2:18-MJ-02516                                   9/i,? /i 'I   06 ;-z...o              I 817 8 /Vef'~(ftt ~A1, '(Mk,_ lt,,J....
     Inventory made in the presence of:
                 </Zwl-               CAotA.-'-/1..J
     Inventory ofthe property taken and name ofany person(s) seized:
     [Please provide a description that would be sufficient to demonstrate that the items seized fall within the items authoriz.ed to be
     seiz.ed pursuant to the warrant (e.g., type of documents, as opposed to "m iscellaneous documents") as well as the approximate
     volume of any documents seized (e.g., number of boxes). If reference is made to an attached description of property, specify the
     number of pages to the attachment and any case number appearing thereon.]




                                                                            Certification (bv officer present during the execution of the warrant)


     I declare under penalty ofperjury that I am an officer who executed this warrant and that this inventory is correct and
     was returned along with the original warrant to the designated judge through a filing with the Clerk's Office.




                                t./~
                                  ,_ 1 .8". .__
     Date: ___.7._,_/_i....:.......                                                                                   signaft1-re_ _ _ _ _ __




AUSA: Andrew Brown, 11th Floor, x0102
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               Case 2:18-mj-02516-DUTY         -
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                                                                                  Page 3 of 4 Page ID #:165


FD -597 (Rev 8 - 11-94)                                                                                           Page _    __._/_ _of      2_
                                        UNITED ST ATES DEPARTMENT OF JUST ICE
                                          FEDERAL BUREAU OF INVESTIGATION
                                    Receipt for Property Received/Returned/ R eleased/Seized

    File #        1.-?f-L+ ... -i1>rvt1


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                                                                                                                  o   Released To
                                                                                                                  {)f Seized
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   (Street Address)           t<1 ''11 ~       N0r'fb~u1          DMc«c         Lri.
   (City) _ _ __ ---'~-«'--'t,::....:"-=-......lJ='"'-"'e(:....:..1°'"e-.,---=Gf=:...!.......__._9=Z,..._8]""'--={;,_ _ _ _ _ _ _ _ _ _ _ _ _ _ __



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    Received     By~                                                  Received From :
                                              ature)                                                                  (Signature)
              -- -
              Case 2:18-mj-02516-DUTY Document 3 Filed 10/10/18 Page 4 of 4 Page ID #:166


FD-597 (Rev 8-11-9()                                                                      Page   _....;:;Z.__of k
                                    UNITED STATES DEPARTMENT OF JUSTICE
                                      FEDERAL BUREAU OF INVESTIGAT ION
                                Receipt fo r Property R eceived / Returned / R eleased /Seized

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